                   CASE 0:19-cr-00313-ECT-TNL Doc. 71 Filed 04/22/22 Page 1 of 1


                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF MINNESOTA
                                            CRIMINAL MOTION HEARING

                                                                               COURT MINUTES
 UNITED STATES OF AMERICA,                                                     BEFORE: Tony N. Leung
                                                                                U.S. Magistrate Judge
                  Plaintiff,
                                                                  Case No:        19-cr-313 (ECT/TNL)
 v.                                                               Date:           April 22, 2022
                                                                  Court Reporter: Paula Richter
 Santos Gomez Perez (1),                                          Courthouse:     Minneapolis
                                                                  Courtroom:      9W
                  Defendant.                                      Time Commenced:        9:42 a.m.
                                                                  Time Concluded:        10:38 a.m.
                                                                  Sealed Hearing Time: 9:45 – 10:35 a.m.
                                                                  Time in Court: 56 minutes
                                                                  Hearing Type: Oral Argument


HEARING ON:
The Court convened for purposes of conducting a hearing on Defendant Santos Gomez Perez’s pro se motion
for substitute counsel, ECF No. 68.

The Government was excused and the Court conducted an in camera inquiry of the basis for Defendant’s
motion with Defendant and attorney Kevin M. O’Brien.

APPEARANCES:
  Plaintiff:       Thomas M. Hollenhorst, Assistant U.S. Attorney

  Defendant:       Kevin M. O’Brien, CJA

  Interpreter/Language:             Esperanza Lopez-Dominguez/Spanish


REMARKS:

For the reasons stated on the sealed record, which are expressly incorporated herein by reference, Defendant’s
pro se motion for substitute counsel, ECF No. 68, was DENIED.

Motion taken under advisement as of:

☐ORDER TO BE ISSUED ☒NO ORDER TO BE ISSUED                           ☐R&R TO BE ISSUED ☐ NO R&R TO BE ISSUED

☐ Exhibits retained by the Court ☐ Exhibits returned to counsel
                                                                                    s/Emily
                                                                              Law Clerk to Magistrate Judge Leung
